CaSe 2212-CV-10273-PDB-RSW ECF NO. 140-1 filed 06/22/18 Page|D.4514 Page 1 012

EXHIBIT INDEX TQ_; PLAINTIFF’S BRIEF IN OPPOSITION rI`O
DEFENDANT PAMELA ANDERSON’S MOTION F()R SUMMARY
JUDGMENT PURSUANT TO FEI). R. CIV. P. 56 [DOCKET NO. 1321

 

 

Exhibit ` Description
1 Transcript Selections from the August 11, 2017 Deposition Of Deborah
Green '

 

 

2 Trans_cript Se]ections Frorn the Janual'y 17, 2018 Depositic)n Of Hon.
Valdemar Washington

 

3 April 15 , 2011 Letter From Chad Schmucker to Hon. Valdemar
Washington re: Letter Of Understanding

 

4 Pamela Anderson’$ July 17, 2012 C'Omplaint and Jury Demand Against
the City of Inkster and 111de Sylvia lames

 

5 Wayne County Circuit Court’S October 3, 2012 Order Granting
Defendant/Counter-Plaintiff, ludge Sylvia Ja.mes’, Motion for Summary
Disposition of First Amended Compla,int Pursua,nt to MCR 2.116(C)(7)
and (C)(S)

 

6 Transcript Se1ections From the October 12, 2017 Deposition of Pamela
Anderson '

 

7 Transcript Selections From the Februa,ry 13 & 16, 2012 .TTC Proceedings
re Formal Complaint NO. SS_WitneSS: Pamela Anderson

 

8 Transcript Selections From the January 24, 2012 .TTC Proceedings re
Formal Complaint NO. SS_WitneSS: Deborah Greell

 

9 Tramscript Selections From the Febl'uaryj, 2012 JTC Proceedings re
Formal Complaint NO. SS_WitneSS: Breana Purdy

 

10 Transcript Selections From the February 24, 2012 JTC Proceedings re
Formal Cc)mplaint NO. SS_WitneSs: Alice Hagler-Taylor

 

11 Transcript Selections From the February 23, 2012 JTC Proceedings re
Formal Complaint NO. SS_WitneSS: Carmi]la Bourn

 

 

 

 

CaSe 2212-CV-10273-PDB-RSW ECF NO. 140-1 filed 06/22/18 Page|D.4515 Page 2 012

 

 

12 P1a1nt1ff’ S Answers and Responses to the Inkster Defendants First Set 01`
lnterrogatories and Requests for Production

 

13 Fed. R. C1V. P. Rule 56(d) Aff`1dav1t of Sylv1a James

 

14 Transcript Se1ect10ns From the Februal'y 8, 2012 JTC Proceedings re
F 01'1na1 Complaint No. SS_Witness: N1001 J ames

 

15 Transcript Selections From the February 8, 2012 ITC Proceedings re
Fon"nal Cornplaint No. SS_WitneSS: Pamela Anderson

 

 

 

 

